Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 1 of 13




              THE UNITED STATES DISTRICT COURT IN AND FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA

   1) First Plaintiff,                              )
                                                    )
  RCI ROOFING AND SHEET                             )
  METAL, INC.,                                      )
                                                    )
  PLAINTIFF,                                        )
                                                    )
  v.                                                ) Case No. 18-CV-00091-CVE-JFJ
                                                    )
  1) First Defendant,                               )
                                                    )
  ZURICH AMERICAN INSURANCE                         )
  COMPANY,                                          )
                                                    )
  DEFENDANT.                                        ) JURY TRIAL DEMANDED

                                         COMPLAINT

         COMES NOW the Plaintiff, by and through its attorney of record, Douglas E. Stall,

  Tulsa, Oklahoma, and files this Complaint contending that defendant acted unreasonably

  and in bad faith, and committed deceit against its insured, RCI Roofing and Sheet Metal,

  Inc.

                           PARTIES, JURISDICTION, AND VENUE

         1.      Plaintiff, RCI Roofing and Sheet Metal, Inc., is a Michigan corporation with

  its principal place of business in Brighton, Michigan. RCI Roofing and Sheet Metal, Inc.

  [“RCI”] performed roofing and sheet metal work during relevant times on the certain

  commercial construction project underlying the causes of action at issue herein, referred to

  as the Saint Francis Health System Tower Expansion Project (“SFH TEC Project”), which

  was located at 6161 South Yale, Tulsa, Tulsa County, State of Oklahoma.
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 2 of 13




         2.     Defendant Zurich American Insurance Company is a foreign insurer,

  domiciled in Illinois but authorized to do business in Oklahoma, and may be served with

  process at the Oklahoma Insurance Department, Legal Division, Five Corporate Plaza,

  3625 NW 56th Street, Ste. 100, Oklahoma City, Oklahoma 73126. Zurich American

  Insurance Company (“Zurich”) issued an Owner Controlled Insurance Policy or Wrap-Up

  Policy (“OCIP”) for Saint Francis Health System (“SFH”), a healthcare facility in Tulsa

  County, State of Oklahoma, and its participating contractors and subcontractors, including

  RCI, on the SFH TEC Project located in Tulsa County, State of Oklahoma.

         3.     Plaintiff’s claims arise out of certain contractual obligations and common

  law duties arising from the SFH TEC Project located in Tulsa County, State of Oklahoma.

         4.     The facts and issues underlying this action occurred in relation to the SFH

  TEC Project located in Tulsa County, State of Oklahoma.

         5.     Diversity of jurisdiction exists among the several parties.

         6.     This Court has jurisdiction over the parties hereto and the subject matter

  hereof. Venue is proper before this Court.

                                   FACTUAL BACKGROUND

         7.     This case involves facts and issues previously before the District Court in

  and for Tulsa County, State of Oklahoma, case no. CJ-2015-1621, Manhattan Construction

  Company v. Corrigan Construction, LLC, RCI Roofing and Sheet Metal, Inc., et. al.

         8.     Zurich issued the OCIP identified as Policy Number GLO 9827114-00, for

  the SFH TEC Project with a coverage period beginning October 3, 2011 and ending June

  1, 2014.
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 3 of 13




         9.     Zurich’s OCIP No. GLO 9827114-00 identified as “named insured” SFH and

  “ALL CONTRACTORS OF ANY TIER ENROLLED IN THE CONTROLLED

  INSURANCE PROGRAM AND WHO PERFORM WORK” at the SFH TEC Project.

         10.     The Named Insured – Owner Controlled Insurance Program Endorsement

  (U-GL-1379-A CW) to Zurich's OCIP No. GLO 9827114-00 further states that "a

  contractor of any tier will qualify as a Named Insured if such contractor: a. Is enrolled in

  the Owner Controlled Insurance Program for which this policy is provided; and b. Performs

  operations at a 'designated project.'"

         11.    Zurich’s OCIP No. GLO 9827114-00 identified the “insured project” as

  “Work which the Insured is contractually obligated to perform in accordance with the

  contract documents” concerning           “NEW   CONSTRUCTION,            ALTERATIONS,

  ADDITIONS, RENOVATIONS AND REPAIRS” on the SFH TEC Project.

         12.    On February 10, 2012, SFH and Manhattan entered into a Construction

  Agreement, which terms included and provided for Zurich’s OCIP No. GLO 9827114-00

  being issued in favor of, among other named insureds, RCI. In the Construction

  Agreement, SFH and Manhattan stated that Zurich’s OCIP No. GLO 9827114-00 was to

  serve as the primary liability insurance policy for all enrolled contractors and

  subcontractors on the SFH TEC Project, including RCI.

         13.    In accordance with the contract documents, Zurich’s OCIP No. GLO

  9827114-00 was at all times intended by SFH and Manhattan to be the primary liability

  insurance on the SFH TEC Project for all of its enrolled insureds, including RCI.

         14.    Section 12.1.1 of the construction contract between SFH and Manhattan
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 4 of 13




  provides that the purpose of Zurich’s OCIP No. GLO 9827114-00 was to “protect all

  Enrolled Parties against injuries and liabilities arising out of Work at the Jobsite. The Wrap

  Up insurance program provides Workers Compensation, Employers Liability, General

  Liability and Excess Liability coverage for on-site operations.”

         15.    RCI enrolled in and paid the required premium for coverage under Zurich’s

  OCIP No. GLO 9827114-00. Furthermore, RCI performed and completed work on the SFH

  TEC Project it was contractually obligated to perform in accordance with the contract

  documents during the covered period. Thus, RCI is a “Named Insured” under Zurich’s

  OCIP No. GLO 9827114-00.

         16.    As the primary liability insurer for the SFH TEC Project, Zurich made the

  above referenced representations about the coverage it offered to RCI and to which RCI

  was entitled by virtue of having paid the required premium to Zurich. However, Zurich

  did not intend to honor its promises to RCI contained in OCIP No. GLO 9827114-00, or

  Zurich failed to disclose in a timely manner its intent to not honor its promises to RCI

  contained in OCIP No. GLO 9827114-00. In doing so, Zurich intentionally and

  maliciously deceived RCI in addition to acting unreasonably and in bad faith.

         17.    On April 27, 2015, Tulsa County, State of Oklahoma, case no. CJ-2015-

  1621, Manhattan Construction Company v. Corrigan Construction, LLC, RCI Roofing and

  Sheet Metal, Inc., et. al., was entered on the docket of the District Court in and for Tulsa

  County, State of Oklahoma (“Tulsa County”). In Tulsa County case no. CJ-2015-1621,

  Manhattan made allegations against RCI and others in relation to work performed upon the

  roofing system of the SFH TEC Project, which constituted covered claims under Zurich’s
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 5 of 13




  OCIP No. GLO 9827114-00.

        18.    Manhattan’s claims against RCI for breach of contract, breach of express

  warranty, breach of implied warranty, contractual indemnity, negligence, equitable

  indemnity and contribution were based on damage to the roofing system installed upon the

  SFH TEC Project, which occurred after RCI’s work.

        19.    Pursuant to the contract documents, RCI installed its portion of the roofing

  system on the SFH TEC according to the roofing specifications and the shop drawings.

        20.    Damage to the roofing system installed on the SFH TEC Project was caused

  by other professionals employed at the SFH TEC Project over whom RCI had no control.

  Additionally, damage to the roofing system installed upon the SFH TEC Project resulted

  from a significant weather event over which RCI had no control.

        21.    Upon information and belief, from the outset of Tulsa County case no. CJ-

  2015-1621, Zurich had notice of the proceedings and allegations against its insured, RCI,

  but failed to defend and indemnify its insured. As discovery unfolded in Tulsa County

  case no. CJ-2015-1621, it became increasingly clear that Zurich owed a duty to defend

  and indemnify RCI pursuant to Zurich’s OCIP No. GLO 9827114-00.

        22.    On January 26, 2016, new third-party defendants were added to Tulsa County

  case no. CJ-2015-1621 including Baker Drywall Dallas Ltd. d/b/a Baker Triangle; Cantera

  Concrete Company, LLC; Chamberlin Oklahoma, LLC d/b/a Chamberlin Roofing &

  Waterproofing; McIntosh Services, Inc.; MMC Contractors National, Inc.; Schuff Steel

  Company; and TEPCO Contract Glazing, Inc. These new third-party defendants were also

  named insureds under Zurich’s OCIP No. GLO 9827114-00.
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 6 of 13




         23.   On May 5, 2016, Manhattan filed a Petition against the Third-Party

  Defendants Baker Drywall Dallas Ltd. d/b/a Baker Triangle; Cantera Concrete Company,

  LLC; Chamberlin Oklahoma, LLC d/b/a Chamberlin Roofing & Waterproofing; McIntosh

  Services, Inc.; MMC Contractors National, Inc.; Schuff Steel Company; and TEPCO

  Contract Glazing, Inc.

         24.   One or more of these new third-party defendants in Tulsa County case no.

  CJ-2015-1621, including Baker Drywall Dallas Ltd. d/b/a Baker Triangle; Cantera

  Concrete Company, LLC; Chamberlin Oklahoma, LLC d/b/a Chamberlin Roofing &

  Waterproofing; McIntosh Services, Inc.; MMC Contractors National, Inc.; Schuff Steel

  Company; and TEPCO Contract Glazing, Inc, was involved in performing work upon the

  roofing system on the SFH TEC Project that was at issue in Tulsa County case no. CJ-

  2015-1621.

         25.   Zurich waived any reservation of rights it may have had under the OCIP No.

  GLO 9827114-00, and instead defended and indemnified its other insureds including Baker

  Drywall Dallas Ltd. d/b/a Baker Triangle; Cantera Concrete Company, LLC; Chamberlin

  Oklahoma, LLC d/b/a Chamberlin Roofing & Waterproofing; McIntosh Services, Inc.;

  MMC Contractors National, Inc.; Schuff Steel Company; and TEPCO Contract Glazing,

  Inc.

         26.   Zurich defended these other insureds under OCIP No. GLO 9827114-00,

  and blamed RCI for the damages to the roof. In doing so, Zurich harmed RCI’s defense of

  the lawsuit and harmed RCI’s business relationship with the construction manager on the

  SFH TEC Project. At the same time, Zurich’s actions benefited Zurich by setting
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 7 of 13




  conditions for Zurich to resolve the Tulsa County case no. CJ-2015-1621 on behalf of its

  other insureds for a negligible sum of money, while at the same time harming RCI and its

  defenses to the lawsuit.

         27.    Despite RCI’s demands for a defense and indemnity, Zurich unreasonably

  and in bad faith refused to provide RCI with the contractually mandated defense and

  indemnity, and Zurich continuously, intentionally and maliciously failed to even respond

  to RCI’s demands.

         28.    Instead, Zurich repeatedly requested more and more documentation from

  RCI about the lawsuit under the guise that Zurich was investigating the claim to determine

  whether RCI had coverage under Zurich's OCIP No. GLO 9827114-00. However, Zurich

  was already fully apprised of the details of the Tulsa County case no. CJ-2015-1621,

  having already been provided extensive reports and documents by its own lawyers

  working for Zurich to defend other insureds under OCIP No. GLO 9827114-00. Thus,

  Zurich had no intention of honoring its contractual promises to RCI. When RCI complied

  and provided Zurich with extensive documents proving RCI entitled to a defense and

  indemnity, Zurich, upon information and belief, wrongfully and maliciously utilized those

  privileged communications to the benefit of its other insureds and to the detriment of RCI in

  Tulsa County case no. CJ-2015-1621, while also defending Zurich’s other insureds.

         29.    Zurich intentionally and maliciously refused to provide RCI any

  explanation of RCI’s benefits or rights under OCIP No. GLO 9827114-00; furthermore,

  Zurich refused to even provide any explanation about why Zurich refused to defend or to

  indemnify RCI, its named insured.
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 8 of 13




         30.    On August 22, 2017, the Honorable Daman Cantrell presiding over Tulsa

  County case no. CJ-2015-1621 approved the settlement between Manhattan and Baker

  Drywall Dallas Ltd. d/b/a Baker Triangle; Cantera Concrete Company, LLC; Chamberlin

  Oklahoma, LLC d/b/a Chamberlin Roofing & Waterproofing; McIntosh Services, Inc.;

  MMC Contractors National, Inc.; Schuff Steel Company; and TEPCO Contract Glazing,

  Inc. Zurich directed this settlement to occur and indemnified these insureds in such

  settlement. Consequently, Zurich waived and should be estopped from now asserting any

  defense or reservation of rights it may claim to have against its duty to defend and

  indemnify its insured RCI.

         31.    On September 28, 2017, the Honorable Daman Cantrell presiding over Tulsa

  County case no. CJ-2015-1621 approved the settlement between Manhattan and RCI.

         32.    Zurich had notice of the settlement negotiations between RCI and Manhattan.

  Zurich had notice of the proposed settlement between RCI and Manhattan. Zurich had

  notice of the hearing to approve the RCI-Manhattan settlement in Tulsa County case no.

  CJ-2015-1621. Despite repeated notice, Zurich intentionally, unreasonably and in bad

  faith refused to participate or in any way acknowledge RCI as Zurich’s named insured, but

  instead worked behind the scenes to undermine RCI’s defenses and settlement

  negotiations with Manhattan.

         33.    Consequently, RCI suffered significant damage to its business its reputation,

  and other damages, all as the direct result of Zurich’s bad faith and deceit.

            CAUSE OF ACTION NO. 1: BAD FAITH BREACH OF CONTRACT

         34.    RCI incorporates the allegations made above as though fully set forth again
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 9 of 13




  in this section.

         35.      RCI paid Zurich more than $50,000.00 to participate as an insured in

  Zurich’s OCIP No. GLO 9827114-00.

         36.      Upon payment of RCI’s premium, RCI was a named insured fully entitled

  to coverage under Zurich’s OCIP No. GLO 9827114-00, and Zurich was required by law

  to take reasonable actions in handling RCI’s general liability claim.

         37.      Zurich intentionally and maliciously failed and refused to act in a diligent

  and reasonable manner in relation to the investigation of Manhattan’s claims against

  Zurich’s named insured, RCI.

         38.      Zurich intentionally and maliciously failed and refused to act in a diligent

  and reasonable manner in relation to adjusting the alleged loss on behalf of Zurich’s named

  insured, RCI.

         39.      Zurich intentionally and maliciously failed and refused to act in a diligent

  and reasonable manner in relation to the good faith settlement negotiations on behalf of

  Zurich’s named insured, RCI.

         40.      Zurich intentionally and maliciously failed and refused to act in a diligent

  and reasonable manner in failing and refusing to provide its named insured RCI an

  explanation of benefits under the OCIP No. GLO 9827114-00.

         41.      Zurich intentionally and maliciously failed and refused to act in a diligent

  and reasonable manner in relation to Zurich’s failure and refusal to provide its named

  insured RCI a substantive basis or rationale for the denial of RCI’s general liability claim.

         42.      Zurich’s actions in intentionally and maliciously failing and refusing to
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 10 of 13




   defend and indemnify RCI while defending and indemnifying the Third-Party Defendants

   Baker Drywall Dallas Ltd. d/b/a Baker Triangle; Cantera Concrete Company, LLC;

   Chamberlin Oklahoma, LLC d/b/a Chamberlin Roofing & Waterproofing; McIntosh

   Services, Inc.; MMC Contractors National, Inc.; Schuff Steel Company; and TEPCO

   Contract Glazing, Inc. were unreasonable under the circumstances.

          43.     Zurich had no good faith, reasonable, or justifiable reason to refuse to

   defend and indemnify its named insured RCI.

          44.     Zurich’s acts and omissions in relation to its named insured RCI under

   Zurich’s OCIP No. GLO 9827114-00 were intentional, unreasonable, malicious and

   constitute bad faith in that Zurich failed to properly and in good faith consider the full

   extent of RCI’s loss; furthermore, Zurich has breached its duty of good faith and fair

   dealing owed to its named insured RCI.

          45.     Zurich’s unreasonable refusal to act in good faith to its named insured, RCI,

   resulted in irreparable harm to its named insured RCI and the owners of RCI. Zurich is

   liable to RCI for all actual and consequential damages flowing from its intentional,

   unreasonable, wrongful, malicious, and bad faith conduct. Furthermore, Zurich should

   be punished by means of punitive damages. Furthermore, Zurich is responsible to its

   insured RCI for all sums expended in pursuing this cause of action.

             CAUSE OF ACTION NO. 2: DECEIT [FALSE REPRESENTATION]

          46.     RCI incorporates the allegations made above as though fully set forth again

   in this section.

          47.     As the primary liability insurer for the SFH TEC Project, Zurich made the
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 11 of 13




   above referenced representations about the coverage it offered to RCI as a named insured

   and to which RCI was entitled by virtue of having paid the required premium to Zurich.

          48.    However, Zurich did not intend to honor its promises to RCI contained in

   OCIP No. GLO 9827114-00.

          49.    Zurich’s false representations to RCI its named insured concerning primary

   commercial general liability insurance coverage under OCIP No. GLO 9827114-00 were

   material.

          50.    Zurich knew that these representations under OCIP No. GLO 9827114-00

   were false.

          51.    Zurich intentionally misrepresented the purported primary commercial

   general liability insurance coverage under OCIP No. GLO 9827114-00 with the intention

   that RCI would rely upon and act upon its false representations.

          52.    RCI relied and acted on Zurich’s intentional false and material

   misrepresentations concerning coverage under OCIP No. GLO 9827114-00, and Zurich

   benefited from RCI’s reliance.

          53.    Had RCI known the truth about Zurich’s misrepresentations and intentions,

   it would not have paid significant sums of money to enroll in Zurich's OCIP No. GLO

   9827114-00, relied upon coverage under the OCIP, and acted in further reliance upon

   Zurich's repeated assurances.

          54.    Consequently, RCI suffered injury.

          55.    Therefore, RCI is entitled to an award of all damages reasonably flowing

   from defendant’s fraud/deceit and to which it is entitled under Oklahoma law, including
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 12 of 13




   but not limited to, financial losses; injury to its business standing and reputation in

   the community; humiliation; mental anguish and suffering of its principals; and punitive

   damages against Zurich, all in excess of $75,000.

                CAUSE OF ACTION NO. 3: DECEIT [FAILURE TO DISCLOSE]

          56.     RCI incorporates the allegations made above as though fully set forth again

   in this section.

          57.     Zurich failed to disclose in a timely manner its intent to not honor its

   promises to RCI contained in OCIP No. GLO 9827114-00.

          58.     Zurich also failed to disclose to RCI that privileged communications from

   RCI to Zurich were being utilized to RCI’s detriment by Zurich.

          59.     Zurich intentionally and maliciously concealed its intentions not to honor

   its obligations to RCI under OCIP No. GLO 9827114-00 with the intent of creating a false

   impression of the actual facts to RCI and its principals.

          60.     Zurich intentionally and maliciously concealed its intentions to utilize

   privileged communications from RCI to the detriment of RCI and its principals.

          61.     Defendants concealed these material facts with the intention that RCI would

   rely and act on these false representations created by concealed facts.

          62.     RCI materially relied upon Zurich to honor its obligations under OCIP No.

   GLO 9827114-00 to its named insured RCI and to utilize all privileged information

   provided by RCI to Zurich in a manner solely beneficial to RCI.

          63.     Had RCI known the true facts that Zurich concealed, RCI would have

   pursued a different course of action in relation to its communications with Zurich and in
Case 4:18-cv-00091-CVE-JFJ Document 2 Filed in USDC ND/OK on 02/13/18 Page 13 of 13




   its defense of Tulsa County case no. CJ-2015-1621.

         64.      Consequently, RCI suffered serious injury and damage for which Zurich is

   responsible.

         65.      Therefore, RCI is entitled to an award of all damages reasonably flowing

   from Zurich’s fraud/deceit and to which it is entitled under Oklahoma law, including but

   not limited to, financial losses; injury to its business standing and reputation in the

   community; humiliation; mental anguish and suffering of its principals; and punitive

   damages against Zurich, all in excess of $75,000.

         66.      Plaintiff reserves the right to supplement or amend this Complaint and the

   Causes of Action set forth herein as additional information becomes available.

         WHEREFORE, all premises considered, Plaintiff respectfully requests judgment

   against Defendant for all damages, attorney fees, costs and expenses incurred herein and

   for any other relief this Court deems just and proper, including punitive damages.

                                        Respectfully submitted,


                                       _/s/ Douglas E. Stall
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